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                                                                                    FILED
                    IN THE UNITED STATES DISTRICT COURT                   U.S. D!      fl COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
                                                                          2[II.5 EC -8 A Li LLl

 UNITED STATES OF AMERICA

        V.                                   )
                                                     Case No. CR416-153
                                             )
 CHELSEA MAGEE                               )




                                        ORDER



         Upon consideration of the request by the surety for return of the bond posted in

 the above captioned case in the amount of $12500.00, and the final Order of Sentencing

 having been entered in this case, said request is hereby GRANTED.

         IT IS HEREBY ORDERED that the Clerk of this Court disburse said funds, plus

 any and all accrued interest, to:

         Thomas Ballard
         703 Walden Park Drive
         Box 163
         Savannah, GA 31410


         SO ORDERED this j~— day'.4j



                                                 DBEY WOOD, CHIEF JUDGE
                                                 STATES DISTRICT COURT
                                                 RN DISTRICT OF GEORGIA
